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U.S, COURTS
MAR 30 2018
d Filed AX rime 2:20pm
TERRY KERR ACV EPHEN W. KENYON
DENNIS KERR CLERK, DISTRICT OF IDAHO
2140 BELMONT AVE
IDAHO FALLS, IDAHO 83404 ORIGINAL

208-520-7266
PRO-SE PLAINTIFFS

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

TERRY KERR, DENNIS KERR, )

 

PLAINTIFFS, . 1
) case no. [S6-cy—l4L—-Dcow
v.
)
OCWEN LOAN SERVICING LLC COMPLAINT

PERKINSCOIE LLP, AKERMAN  )
LLP, AND DOES 1-10,

DEFENDANTS.

 

COMES NOW PRO-SE PLAINTIFFS TERRY KERR AND DENNIS KERR
WITH THEIR COMPLAINT AGAINST THE DEFENDANTS : OCWEN SERVICING
LLC, PERKINSCOIE LLP, AKERMAN LLP, AND DOES 1-10.

COMPLAINT

COMES NOW PLAINTIFFS PRO-SE TERRY KERR AND DENNIS KERR
WITH THEIR COMPLAINT AGAINST DEFENDANTS OCWEN SERVICING LLC,
PERKINSCOIE LLP, AKERMAN LLP, AND DOES 1-10. THIS IS A COM-
PLAINT ABOUT WRONGFULL CONVERSION ACT OF DOMINION THAT WAS
WRONGLY ASSERTED OVER ANOTHERS PROPERTY BY CONSPIRED FRAUD
AND VIOLATIONS OF THE RACKETEER INFLUENCED AND CORUPT ORGAN-
IZATIONS ACT. THIS RESULTED IN A WRONGFULL AND ILLEGAL ACT

OF CONSPIRED CRIME TO GET ACCOMPLISH A LEGAL OBJECTIVE BY

 

 

 
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BY USING UNLAWFULL MEANS. THE PLAINTIFFS CAN PROVE THE FACTS
TRUTH, AND EVIDENSE TO SHOW THE ONGOING AND CONTINUING VIOLA-
TIONS AS IN ( UNITED STATES V. TURKETTE, 452 U.S. 576, 583,
(1981). THE PLAINTIFFS CAN AND WILL PROVE THAT THE RACKETEER-
ING PREDICATES ARE RELATED AND HOW THEY POSE A THREAT OF CON-
TINUED ACTIVITY. SEE ( ID. ( QUOTING H.J. INC. V. NORTHWESTERN
BELL .TELEPHONE CO., 492 u.s. 229, 239, (1989). THE DEFENDANTS

DID MAIL CONSPIRED MAIL FRAUD AND IT CAN AND WILL BE PROVEN!

JURISDICTIONA

1. THE PLAINTIFFS OWN THE HOUSE AT 2140 BELMONT AVE. IN IDAHO
FALLS, IDAHO 83404. THIS CIVIL ACTION FALLS UNDER THIS COURTS
JURISDICTION UNDER 28 USC-1331 AND 28 USC-1367 AND USC-1983-
1985 FOR BECAUSE THESE CRIMES WERE MOTIVATED BY RACIAL ANIMUS
AND CONSTITUTE A HATE CRIME SEE SER TAB-8 AT 13. AND THE RACK-
ETEER INFLUEINCED AND CORUPRT ORGANIZATION ACT VIOLATIONS AND
THE PLAINTIFFS CAN AND WILL PROVE THE PATTERN OF RACKETEERING
ACTIVITY SEE ( RICOTTA V. CALIFORNIA, 4 SUPP. 2d 961, 977,

( S.D. CAL 1998). THE DEFENDANTS LAWYERS DO LIVE IN BOISE,
IDAHO, BUT THE OCWEN SERVICING IS IN FLORIDA, BUT DO SOME
BUSINESS IN IDAHO.

FACTUAL ALEGATIONS

 

2. THE PLAINTIFFS ARE ENTITLED TO RELIEF FOR THE CRIMES THAT
WERE INTENTIONAL DONE THROUGH ILLEGAL MEANS TO ACCOPLISH LEGAL
OBJECTIVES. THE DEFENDANTS DID CIVIL AND CRIMINAL CONSPIRED
VIOLATIONS AND DID WILLFULL, MALICIOUS, AND CRIMINAL CRIMES

PURPOSELY TO CAUSE FINANCIAL AND EMOTIONAL GRIEF AND DISTRESS.

 
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THE EGREIOUS AND UNSCRUPULOUS CIVIL AND CRIMINAL RACKETEERING
USING CALLOUS ACTS AND A CONSPIRED DESIGN OF SPECIFIC CONDUCT
TO INJURE AND DAMAGE THE PLAINTIFFS WAS A COMPLETE AFFRONT TO
THE JUSTICE SYSTEM! THE DEFENDANTS ACTIONS ARE DEFINATELY OUT-
SIDE THE NORMAL BAD. FAITH MISCONDUCT ACTIONS!

3. THE CONSPIRED DESIGN OF THE ILLEGAL AND OUTREAGEOUS CRIMINAL
ACTS TO INJURE THE PLAINTIFFS DOES PERMIT THE RECOVERY OF DAM-
AGES ACTUAL AND COMPENSATORY AS WELL AS INJUNCTIVE AND DECLAR-
ATORY RELIEF:

FIRST COUNT FOR RELIEF

 

4. THE USING OF RACKETEER INFLUENCED AND CORUPT ORGANIZATION
ACT VIOLATIONS COUPLED WITH DECEPTIVE PRACTICES ANDCONSPIRED
FRAUD, CITING U.S.C. 15, (1962) D,E, PROHIBITS FALSEIFIED

AND WRONGFULL FRAUD AND USING THE MAIL FRAUD TO ACCOMPLISH

A LEGAL ABJECTIVE USING ILLEGAL MEANS, AND U.S.C. 15 F PRO-
HIBITS UNFAIR PRACTICES. THE CONSPIRED VIOLATIONS BY THE
DEFENDNATS WILL BE SHOWN AND PROVED AND ENTITLES THE PLAINT-
TIFFS TO ACTUAL DAMAGES, COMPENSATORY DAMAGES, PUNITIVE

DAMAGES, AND ANY OTHER DAMAGES THAT THE COURT DEEMS APPROPRIATE.

SECOND COUNT FOR RELIEF

 

5. THE VIOLATIONS BY THE DEFENDANTS OF THE ANTI-TYING PROVISION
OF THE BANK HOLDING ACT, 12 U.S.C. (1972) ET SEG 12 U.S.C.(1972)
(B) IS VALID FOR THE PLAINTIFFS CAN AND WILL PROVE THE ILLEGAL
STEALING HOUSES SCHEME. THIS VIOLATION BY THE DEFENDANTS CAN
AND WILL BE PROVEN AND INTITLES THE PLAINTIFFS TO 3 TIMES THE
DAMAGES THAT WERE SUSTAINED AND COSTS PLUS AND INJUNCTION THAT
WILL BAR THE DEFENDANTS FROM CONTINUING THE UNLAWFULL ACTS.

THIRD COUNT FOR RELIEF

 

3.

 

 

 
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6. THE BREECH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
DEALING VIOLATIONS THAT DID CAUSE A COMPLETE AFFRONT TO THE
JSUTICE SYSTEM WHEN THE DEFENDANTS USE ILLEGAL METHODS TO
ACCOMPLISH LEGAL ABJECTIVES. THE DELIBERATE ACTS OF BAD

FAITH MISCONDUCT AND CRIMES WILL BE PROVEN AND THE DEFENDANTS
ARE HELD LIABLE TO THE PLAINTIFFS AND THIS DOES INTITLE THE
PLAINTIFFS TO ACTUAL DAMAGES, PUNITIVE DAMAGES COMPENSATORY
DAMAGES, AND ANY OTHER DAMAGES THAT THE COURT MAY DEEM APPRO-
PRIATE.

FOURTH COUNT FOR RELIEF

 

7. THE RACIAL ANIMUS AND THE INTENTIONAL INFLICTION OF EMOTIONAL
AND FINANCIAL DISTRESS TO LIBEL SLANDER AND CAUSE DEFAMEATION

TO THE PLAINTIFFS WAS COMMUNICATED BY THE DEFENDANTS TO CAUSE
INTENTIONAL LIBLE SLANDER AND FINANCIAL AND EMOTIONAL GRIEF

DID CAUSE THE PLAINTIFFS TO BE DAMAGED, SEE CLARK V. THE
SPOKESMAN-REVIEW, 144 IDAHO 427, 430, 163 P.3d 216, 219,(2007).
THE FACTUAL MATERIALITY AND EXHINITS OF PROOF WILL PROVE THE
VIOLATIONS AND DO PERMIT THE RECOVERY OF DAMAGES . THE PLAINTIFFS
ARE ASKING FOR ACTUAL DAMAGES, PUNITIVE DAMAGES, COMPENSATORY
DAMAGES, FUTURE DAMAGES, AND ANY OTHER DAMAGES THAT THE COURT

MAY DEEM APPROPRIATE.

PRAYER FOR RELIEF

 

8. WHEREFORE PLAINTIFFS PRAY FOR JUDGEMENT AGAINST THE
DEFENDNATS AS FOLLOWS:

A. THE PLAINTIFFS DEMAND JUDGEMENT AGAINST THE DEFENDANTS AND

THE AWARDING OF DAMAGES SUSTAINED BY THE PLAINTIFFS AS A RESULT

OF THE VIOLATIONS AND CRIMES COMMITTED BY THE DEFENDANTS, AND

ASKS THE COURT TO STOP THE DEFENDANTS FROM CONTINUING THE

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THE VIOLATIONS AS TOLD IN THE LAWSUIT!

B. FOR THE AWARDING OF THE PLAINTIFFS DAMAGES, INJUNCTIVE
RELIEF, DECLARATORY RELIEF, AND ACTUAL DAMAGES, PLUS THE
COSTS OF THE SUIT.

C. THE AWARDING OF DAMAGES SUSTAINED AS A RESULT OF THE
CIVIL AND CRIMINAL RACKETEERING AND TORTIOUS CRIMES.

D. AWARDING COMPENSATORY DAMAGES AND TRIBLE DAMAGES, PLUS
COSTS AND FEES ALOWED UNDER THE RACKETEER INFLUEINCED AND
CORUPT ORGANIZATIONS ACT VIOLATIONS. THAT THE DEFENDANTS DID
MALICIOUSLY AND INTENTIONALLY.

E. THE AWARDING OF DAMAGES TO THE PLAINTIFFS FOR THE LIBEL
SLANDER AND RACIAL ANIMUS CRIMES FOR MEDICAL AND DOCTOR
BILLS BOTH NOW AND IN THE FUTURE.

F. FOR A WRIT OF ATTACHMENT, WRIT OF GARNISHMENT, WRIT OF
POSSESSION ATTACHING, AND REAL PROPERTY OWNED BY THE DEFEN—
DANTS, FOR THE CRIMES COMMITTED BY THEM.

G. THE DAMAGES EXCEED $30 MILLION DOLLARS AND OR WHAT EVER
THE AWARD IS AT THE JURY TRIAL.

H. FOR POST JUDGEMENT INTEREST ON THE ENTIRE JUDGEMENT TO
BE DETERMINED AT A JURY TRIAL AT THE LEGAL RATE ALOWED BY LAW.
I. FOR SUCH OTHER AND FURTHER RELIEF AS THE COURT MAY DEEM

APPROPRIATE IN THE PREMISES.

DONE AND DATED THIS 27th DAY OF MARCH, 2018

BY PRO-SE PLAINTIFFS TERRY KERR AND DENNIS KERR
Lowey Nea Denne Kaa
we Lo e

 

 

 
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CERTIFICATE OF SERVICE

 

THIS IS TO CERTIFY THAT A COPY OF THE SUMMONS AND THE
COMPLAINT WILL BE SERVED UPON THE DEFENDANTS BY A PROCESS
SERVER AT THE FOLLOWING ADDRESSES: OCWEN LOAN SERVICING LLC
1661 WORTHINGTON ROAD, WEST PALM BEACH, FLORIDA 33409,
perkinscoie 1111 WEST JEFFERSON STREET, SUITE 500, BOISE,
IDAHO, 83702-5391, AND AKERMAN LLP, VILLAGE CENTER CIRCLE,
SUITE 200, LAS VEGAS, NEVADA 89134 AS SOON AS POSSIBLE BY

THE PROCESS SERVER.

DONE AND DATED THIS 27th DAY OF MARCH, 2108

BY PRO-SE PLAINTIFFS TERRY KERR AND DENNIS KERR

Lermp hom _dumneo Kea

 
